                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                 SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                               Plaintiff,           )
                                                    )
vs.                                                 )      Case No. 16-05004-03-CR-SW-RK
                                                    )
RANDALL E. RICE,                                    )
                                                    )
                               Defendant.           )

                                                ORDER

       On August 3, 2016, Defendant appeared before United States Magistrate Judge David P. Rush
and entered a plea of guilty to Counts One and Seventeen and admitted to the Forfeiture Allegation
contained in the Indictment filed on January 19, 2016 (doc. 1). On August 3, 2016, Judge Rush issued
his Report and Recommendation (doc. 104).
       Upon careful and independent review, this Court finds that defendant’s plea was knowledgeable
and voluntary and that the offenses charged are supported by an independent basis in fact containing
each of the essential elements of such offenses. Accordingly, this Court hereby adopts and incorporates
as its own Opinion and Order the Report and Recommendation of United States Magistrate Judge David
P. Rush.
       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and defendant is
adjudged guilty. The defendant’s sentencing hearing will be scheduled and the parties notified of the
date and time of sentencing.
       SO ORDERED.
                                                    s/ Roseann A. Ketchmark
                                                    ROSEANN A. KETCHMARK, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATED: August 31, 2016




           Case 3:16-cr-05004-RK            Document 112    Filed 08/31/16     Page 1 of 1
